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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION

 RowVaughn Wells,

                         Plaintiff,
        v.                                          Case No. 2:23-CV-02224

 The City of Memphis et al.,

                         Defendants.


             PLAINTIFF’S NOTICE REGARDING APRIL 11, 2025 HEARING

       Plaintiff hereby provides notice that Plaintiff intends to present Mr. Charles Platt at the

remote video hearing being held by the Court at 2:00 p.m. on April 11, 2025. See ECF 345.

       Plaintiff has identified Mr. Platt as a potential court-appointed neutral with respect to the

gathering of information from SQL databases used by the City of Memphis. See ECF 378-1 at

2. Mr. Platt will be available to address any questions the Court may have of him regarding this

potential appointment.



Dated: April 10, 2025                        Respectfully submitted,


                                             /s/ Stephen H. Weil
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